Case 1:15-cv-24293-MGC Document 6 Entered on FLSD Docket 11/23/2015 Page 1 of 2


AO 440 (Rev. 06112) Summons In a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District of florida

 HYDENTRA, l.P. HLP GENERAL PARTNER, INC.                        )
      dlb/a METART d/b/a SEXART, et al.,                         )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                v.                               )
                                                                         Civil Action No.1 :15-cv-24293-MGC
 ERA TECHNOLOGIES, LTO. dlb/a DRTUBER.COM                        )
           d/b/a Drtst.com, et al.,                              )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)         WZ COMMUNICATIONS INC., c/o its Registered Agent:
                                           Incorporate Now
                                           6750 North Andrews Avenue, Suite 200
                                           Ft. Lauderdale, Florida 33309




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Aaron Behar, Esq.
                                Jaclyn Behar, Esq.
                                BeharBehar
                                1840 North Commerce Parkway, Suite 1
                                Weston, FL 33326
                                Telephone: (954) 688-7642
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

             November 23, 2015
Date:
        -------------------                                                           Signature of Clerk or Deputy Cleric

                                                                                                           s/ C. Barnes-Butler
Case 1:15-cv-24293-MGC Document 6 Entered on FLSD Docket 11/23/2015 Page 2 of 2


AO 440 (Rev. 116112) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the

                                                     Southern District of florida

 HYDENTRA, L.P. HLP GENERAL PARTNER, INC.                          )
      dlb/a METART dJb/a SEXART, et al.,                           )
                                                                   )
                                                                   )
                             Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                )
                                                                           Civil Action No.1 :15-cv-24293-MGC
 ERA TECHNOLOGIES, LTO. d/b/a DRTUBER.COM                          )
           d/b/a Drtst.com, et al.,                                )
                                                                   )
                                                                    )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's namo and address)          WEBZILLA INC., c/o its Registered Agent:
                                            Incorporate Now
                                            6750 North Andrews Avenue, Suite 200
                                            Ft. Lauderdale, Florida 33309




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a) (2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Aaron Behar, Esq.
                                Jaclyn Behar, Esq.
                                BeharBehar
                                1840 North Commerce Parkway, Suite 1
                                Weston, Fl33326
                                Telephone: (954) 688-7642
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

              November 23, 2015
Date:
        ------------------                                                              Signature of Clerk or Deputy Clerk

                                                                                                             s/ C. Barnes-Butler
